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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CATHY A. HARRIS, in her personal capacity :
and in her official capacity as Member of the :
Merit Systems Protection Board,               :
                                              :
       Plaintiff,                             :           Civil Action No.:      25-412 (RC)
                                              :
       v.                                     :           Re Document No.:       2
                                              :
SCOTT BESSENT, in his official capacity as :
Secretary of the Treasury, et al.,            :
                                              :
       Defendants.                            :

                                              ORDER

           GRANTING PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER

       For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, Plaintiff Cathy A. Harris’s Motion for Temporary Restraining Order

(ECF No. 2) is GRANTED. It is hereby:

       ORDERED that from the date of entry of this Court’s Order until the Court rules on a

preliminary injunction, Plaintiff Cathy A. Harris shall continue to serve as Chairman of the

MSPB. Defendants Secretary Scott Bessent, Deputy Director Trent Morse, Director Sergio Gor,

Acting Chairman Henry Kerner, and Director Russell Vought are ENJOINED from removing

Harris from her office or in any way treating her as having been removed, denying or obstructing

Harris’s access to any of the benefits or resources of her office, placing a replacement in Harris’s

position, or otherwise recognizing any other person as a member of the MSPB in Harris’s

position, pending further order of the Court; and it is
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       FURTHER ORDERED that Harris shall file any motion for a preliminary injunction on

or before February 23, 2025. Defendants shall file any opposition on or before February 28,

2025. Harris shall file any reply on or before March 2, 2025; and it is

       FURTHER ORDERED that the parties shall appear for a hearing on the motion for

preliminary injunction, if such a motion is filed, on March 3, 2025, at 2:00 p.m., and that the

Court will rule on the preliminary injunction as soon as possible thereafter; and it is

       FURTHER ORDERED that the parties shall meet, confer, and submit a joint status

report, on or before February 19, 2025, informing the Court of their respective positions on

whether consideration of the motion for preliminary injunction should be consolidated with the

merits pursuant to Federal Rule of Civil Procedure 65(a)(2).

       SO ORDERED.


Dated: February 18, 2025                                            RUDOLPH CONTRERAS
                                                                    United States District Judge




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